                 THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION
               CRIMINAL CASE NO. 1:12-cr-00088-MR-DLH-1


UNITED STATES OF AMERICA,        )
                                 )
                   Plaintiff,    )
                                 )
          vs.                    )             ORDER
                                 )
                                 )
ALEX DEAN NELSON,                )
                                 )
                   Defendant.    )
________________________________ )
                                 )
IN RE: PETITION OF               )
TAMMY NELSON.                    )
________________________________ )


      THIS MATTER is before the Court sua sponte following the filing of

the Government’s Motion to Dismiss the Petition of Tammy Nelson

(“Petitioner”). [Doc. 30].

      In accordance with Roseboro v. Garrison, 528 F.2d 309 (4th Cir.

1975), the Court advises the Petitioner, who is proceeding pro se, that she

has a right to respond to the Government’s motion.        The Court further

advises the Petitioner that failure to respond may result in dismissal of her

Petition.




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      IT IS, THEREFORE, ORDERED that the Petitioner Tammy Nelson

shall respond to the pending Motion to Dismiss [Doc. 30] no later than thirty

(30) days from entry of this Order. The Petitioner is warned that failure to

file a timely response will likely lead to the dismissal of her Petition.

      IT IS SO ORDERED.
                                  Signed: March 30, 2013




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